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                           UNTIED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                      Hon. Robert Kirsch


  V.                                           Grim. No. 24-446 (RK)


 MOSHE SILBER                                  Order Revoking Bail and IVtodifyin^
                                               Conditions of Release


       THIS MATTER having come before the Court on the motion of the United States

Attorney's Office and the Fraud Section of the Department of Justice (Martha K. Nye,


Assistant United States Attorney, and Siji Moore, Trial Attorney), on notice to the


defendant IVEoshe Silber (Eric Kanefsky, Esq.) for the revocation of bail, modification of


the defendant's conditions of release and to set a date to self-surrender to the United


States Marshals Service; and the defendant having previously pled guilty to a Criminal


Information on July 9, 2024, and the date of defendant's sentencing still yet to be


determined; and the parties acknowledging that on February 4, 2025, the Allegheny


County District Attorney s Office issued a criminal complaint charging defendant Silber


with seven criminal offenses (the Allegheny Charges"); and Silber denying and


intending to enter a plea of not guilty to the Allegheny Charges; and Allegheny County


having issued a warrant for defendant Silber's arrest; and the parties having conferred


about this change of circumstances and the application of factors as set forth in 18 U.S.C.


§§ 3142 and 3148(b); and the defendant Moshe Silber having consented to the revocation

of bail effective February 24, 2024 and to the modification of his conditions of release;


and for good cause shown;


       IT IS ORDERED this I ! day of February, 2025, that the defendant's

conditions of release are hereby immediately amended to include the following new


conditions:
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           1. The defendant must submit to home detention and comply with the program


              requirements as directed by Pretrial Services. The defendant shall be


              restricted to his residence at all times except for employment, education,


              religious services, medical, mental health treatment, court-ordered


              obligations, and any other such times specifically authorized by Pretrial


              Services.


          2. The defendant shall be placed on location monitoring. The defendant shall


              arrange for the installation of all necessary equipment within 24 hours of


              the entry of this Order.


          3. The defendant shall be permitted to attend the Bar Mitzvah of his son on


              February 21-22, 2025, in Tarrytown, New York. In light of his religious


              observance, the defendant shall depart his home at 12:00 p.m. or later on


              Friday, February 21, 2025, and will return home on Saturday at 9:00 p.m.


              or earlier on Saturday, February 22,2025.


          4. All other conditions of release are unmodified and shall remain in place


              until further order of the Court.


      IT IS FURTHER ORDERED that defendant shall self-surrender to the United

States IVtarshals Service at the Trenton Federal Courthouse on February 24, 2025, at


10:00 a.m., and at that time will be detained without bail until the conclusion of his


criminal case, and it is further,


             ORDERED, as of February 24, 2025, pursuant to Title 18, United States


Code, Section 3142, that the defendant be committed to the custody of the Attorney


General or his authorized representative pending sentencing in the above-entitled


matter; and it is further
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             ORDERED, as of February 24, 2025, pursuant to Title 18, United States


Code, Section 3142(i), that the defendant be afforded reasonable opportunity for private


consultations with counsel; and it is further


             ORDERED, as of February 24, 2025, pursuant to Title 18, United States


Code, Section 3142(i), that, upon order of this or any other court of the United States of


competent jurisdiction or on request of an attorney for the United States, the defendant


shall be delivered to a United States Marshal for the purpose of appe^rAacesin


connection with court proceedings. / / /




                                                ROBERT E3RSCH
                                                UNITED STATES DISTIRCT JUDGE


I hereby consent to the
form and entry of this order:


s/ Martha K. Nye
Martha K. Nye
Assistant United States Attorney


Siji Moore
Trial Attorney




s/ Eric Kanefsky
Eric Kanefsky, Esq.
Attorney for Moshe Silber
